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                    IN THE UNITED STATES DISTRICT COURT FOR TEE
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                              EASTERN DISTRICT OF VIRGINIA                              wnpgNCOUHr

                                       Alexandria Division
                                                                                            i«p»
UNITED STATES OF AMERICA


               V.                                    No. l:19-CR-26-TSE
LUIS BONILLA-HERNANDEZ
a/k/a SEBASTIAN,
a/k/a EL COMMANDANTE,

Defendant.


                                    STATEMENT OF FACTS


       The parties stipulate that the allegations in Count One ofthe Information and the

following facts are true and correct, and that had the matter gone to trial the United States would

have proven them beyond a reasonable doubt.

       1.      Between in and around August 28, 2015 through on or about July 6, 2018, within

the Eastern District ofVirginia and elsewhere,in and affecting interstate commerce,the defendant,

LUIS BONILLA-HERNANDEZ, a/k/a SEBASTIAN, a/k/a EL COMMANDANTE, with others

knovm and unknown to the United States, knowingly traveled in interstate commerce and used a

facility in interstate commerce, including cell phones, with intent to otherwise promote, manage,

establish, carry on and facilitate the promotion, management, establishment and carrying on of

prostitution offenses in violation ofthe laws of Virginia, to wit: Virginia Code § 18.2-348, and of

the United States, in violation of Title 18, United States Code, Section 2421(a), and thereafter

performed and attempted to perform an act to promote, manage, establish and carry on such

unlawful prostitution activity involving victims Ca.D.S., Cl.D.S., A.M.F., J.RA., and M.V.O.

(In violation ofTitle 18, United States Code, Sections 1952(a)(3) and 2.)

       2.      BONILLA-HERNANDEZ,along with Eliazar Duran Mota,operated a prostitution

business out oftheir residences located in Northern Virginia.
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